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_ to this instrument are : FILED
prohibited by courtorésr... | UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS FEB 28 2024 .
HOUSTON DIVISION:
Nathan Ochsner, Clerk of Court
UNITED STATES OF AMERICA § nue
5 §
v. § Case No. Ly. 24 -¢¢- \ \Y3
MINA COLIN STROTHER §
§
Defendant. §

_ INFORMATION FOR CONSPIRACY TO COMMIT MONEY LAUNDERING

The United States charges:

‘From in or about February 2016 through in or around December 2019, in the Southern
District of Texas. and elsewhere, the defendant, MINA COLIN STROTHER, did knowingly
combine, conspire, and agree with Co-Conspirator 1, and with other persons, to commit offenses
against the United States in violation of Title 18, United States Code, Section 1956(a)(1), to wit:
to knowingly conduct and attempt to conduct financial transactions affecting interstate commerce,

_ which transactions in fact involved the proceeds of specified unlawful activity, that is, bribery of
a public official, knowing that the transactions were designed in whole and in part to conceal and
disguise the nature, location, source, ownership, and control of the proceeds of specified unlawful
activity, and that while conducting and attempting to conduct such financial transactions, knew
that the property involved in the financial transactions represented the proceeds of some form of

unlawful activity.

All in violation of Title 18, United States Code, Section 371.

JENNIFER KENNEDY GELLIE
Executive Deputy Chief
performing the duties of Chief —
Counterintelligence and Export Control
Section
National Security Division.
U.S. Degartment of Justice
By:
Garret{ Coy]
Attorhey forthe United States

COREY R. AMUNDSON
Chief, Public Integrity Section
Criminal Division -

U.S. Department of Justice

By: LL a
Matco A, Palmitri

Rosaleen O’Gara

Celia. Choy
Attorneys for the United States

